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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   IN RE: TASIGNA (NILOTINIB)
   PRODUCTS LIABILITY LITIGATION                        Case No. 6:21-md-03006-RBD-DAB
                                                                          (MDL No. 3006)
   This document relates to all actions.


                 DECLARATION OF DARREN SCHEER, PhD, MPH, RAC

            I, Darren Scheer, PhD, MPH, RAC, do hereby swear and affirm as follows:

            1.    I am a professional epidemiologist with expertise in pharmacovigilance,

   pharmacoepidemiology, drug labeling, and FDA regulations and compliance. I have

   issued an expert report in this case dated October 18, 2022.

            2.    An unredacted copy of this report was filed under seal with the Court at

   ECF No. 234. A redacted copy of the report was filed with the court at ECF No.

   232-2.

            3.    The unredacted and redacted reports and all the statements contained

   therein are, to the best of my knowledge and belief, truthful and accurate. I

   incorporate the report and all statements therein into this sworn declaration.


            I swear under penalty of perjury that the foregoing is true and correct.

            Executed on April 3, 2023.


                                                 Darren Scheer Digitally signed by Darren Scheer
                                                               Date: 2023.04.03 13:20:15 -04'00'
                                             ___________________________________
                                                 Darren Scheer, PhD, MPH, RAC
